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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL
 EMPLOYEES, AFL-CIO, et al.,

                        Plaintiffs,

                           vs.                            Civil Action No. 1:25-cv-00596

 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                       Defendants.

                                           PROPOSED
                                            ORDER

       Having considered Plaintiffs’ Agreed Motion for Extension of Time, Plaintiffs’ motion is

GRANTED. Plaintiffs’ deadline to file their Motion for Preliminary Injunction is extended to

Friday, April 4, at 6:00 p.m. Defendants’ deadline to file their response in opposition to that motion

is extended to Monday, April 7, at 6:00 p.m.



       Dated: ____________                                    _______________________
                                                              Hon. Ellen Lipton Hollander
                                                              United States District Judge
